                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

KLOOSTERBOER INTERNATIONAL
FORWARDING LLC, et al.,

                    Plaintiffs,

             v.
                                              Case No. 3:21-cv-00198-SLG
UNITED STATES OF AMERICA, et al.,

                    Defendants.




 ORDER RE LINEAGE LOGISTICS HOLDINGS, LLC’S MOTION FOR LEAVE
        TO FILE AMICUS BRIEF IN SUPPORT OF PLAINTIFFS

      Before the Court at Docket 124 is Lineage Logistics Holdings, LLC’s Motion

for Leave to File Amicus Brief in Support of Plaintiffs. Plaintiffs did not file a

response to the motion. Defendants filed a response in opposition to the motion

at Docket 143. Lineage Logistics Holdings, LLC (“Lineage”) filed a reply in support

of the motion at Docket 149.

      Good cause being shown, IT IS ORDERED that the motion is GRANTED.

The Court will consider the proposed Amicus Brief at Docket 124-1, together with

Defendants’ response and Lineage’s reply to the motion.

      DATED this 7th day of February, 2022 at Anchorage, Alaska.

                                            /s/ Sharon L. Gleason
                                            UNITED STATES DISTRICT JUDGE




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